Dear Auditor Montee:
This office received your letter of April 2, 2010, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Steven Reed (version 2). The fiscal note summary that you submitted is as follows:
  The additional revenue generated by the levy of a sales tax of one-tenth of one percent on fuel used by certain vehicles is approximately $67.7 million. The estimated cost to state governmental entities is $1,768. It is estimated the proposal would have no cost or savings to local governmental entities.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________ CHRIS KOSTER Attorney General